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                      IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWARE


In re:                                                      Chapter 11

W. R. GRACE &CO.,etaL,                                      Case No. 01-01139 (JKF)
                                                            Jointly Administered
                       Debtors.

                                  CERTIFICATE OF SERVICE


               I, Kathleen P. Makowski, hereby certify that on the       Iay of October 2011, I

caused a copy of the following document to be served on the individuals on the attached service

list in the manner indicated:

               NOTICE OF DEBTORS’ MOTION FOR ENTRY OF AN ORDER: (I)
               APPROVING AGREEMENT; (II) AUTHORIZING, BUT NOT
               DIRECTING, THE DEBTORS TO MERGE CERTAIN NON-OPERATING
               DEBTOR SUBSIDIARIES INTO W. R GRACE & CO.-CONN.; (III)
               EXPUNGING CERTAIN ACTIVE CLAIMS, CONDITIONALLY
               EXPUNGED CLAIMS AND INTERCOMPANY CLAIMS; AND (IV)
               TRANSFERRING CERTAIN ACTIVE AND INTERCOMPANY CLAIMS
               TO W. R. GRACE & CO.-CONN; AND

               DEBTORS’ MOTION FOR ENTRY OF AN ORDER: (I) APPROVING
               AGREEMENT; (II) AUTHORIZING, BUT NOT DIRECTING, THE
               DEBTORS TO MERGE CERTAIN NON-OPERATING DEBTOR
               SUBSIDIARIES INTO W. R. GRACE & CO.-CONN.; (III) EXPUNGING
               CERTAIN ACTIVE CLAIMS, CONDITIONALLY EXPUNGED CLAIMS
               AND INTERCOMPANY CLAIMS; AND (IV) TRANSFERRING CERTAIN
               ACTIVE AND INTERCOMPANY CLAIMS TO W. R. GRACE & CO.-
               CONN.
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